United States District Court

For the Northern District of California

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IN THE UNITED STATES Distt i

FOR THE NORTHERN DISTRICT OF CALIFORNIA.

SIDDHARTH HARIHARAN, CASE NO. C 11-2509 SBA
Plaintiff, (Proposed)
ORDER GRANTING APPLICATION
v. FOR ADMISSION OF ATTORNEY
ADOBE SYSTEMS INC, et al. PRO HAC VICE
Defendant.
/
John D. Radice , whose business address and telephone number is
Grant & Eisenhofer P.A.

485 Lexington Ave., 29th Floor, New York, NY 10017
Tel: (646) 722-8500

and who is an active member in good standing of the bar of New York
having applied in the above-entitled action for admission to practice in the Northern District of
California on a pro hac vice basis, representing Plaintiff Siddharth Hariharan.

IT IS HEREBY ORDERED THAT the application is granted, subject to the terms and
conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate appearance pro hac
vice. Service of papers upon and communication with co-counsel designated in the application
will constitute notice to the party. All future filings in this action are subject to the requirements

contained in General Order No. 45, Electronic Case Filing.

Dated:

United States District Judge
Saundra Brown Armstrong

